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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


JEFF BONOMO,                                    )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )     Case No. 4:21-cv-00411-SEP
                                                )
THE BOEING COMPANY,                             )
                                                )
       Defendant.                               )


                                   NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Jeff Bonomo, appeals to the United States Court of

Appeals for the Eighth Circuit, from the Judgment entered in this action on the 25th day of

February, 2022.



                                           Respectfully submitted,

                                           PONDER ZIMMERMANN LLC

                                           By       /s/ Douglas B. Ponder
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 Case: 4:21-cv-00411-SEP Doc. #: 32 Filed: 03/11/22 Page: 2 of 2 PageID #: 1057




                               CERTIFICATE OF SERVICE

        I hereby certify that on March 11, 2022, a copy of the foregoing was filed with the Clerk
of Court by using the CM/ECF system, which will send notice of electronic filing to all attorneys
of record in this matter.


                                                    /s/ Douglas B. Ponder
                                                    An Attorney for Plaintiff




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